                                                                                  Case 15-12959                   Doc 1
                                                                                                                   Filed 07/27/15 Entered 07/27/15 09:42:28 Desc Main
                                                                   B1 (Official Form 1) (04/13)                       Document      Page 1 of 3
                                                                                                      United States Bankruptcy Court
                                                                                                 District of Massachusetts, Boston Division                 Voluntary Petition
                                                                    Name of Debtor (if individual, enter Last, First, Middle):                              Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                    Cousin, Terry T
                                                                    All Other Names used by the Debtor in the last 8 years                                  All Other Names used by the Joint Debtor in the last 8 years
                                                                    (include married, maiden, and trade names):                                             (include married, maiden, and trade names):



                                                                    Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) /Complete EIN          Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) /Complete EIN
                                                                    (if more than one, state all):     8118                                                 (if more than one, state all):

                                                                    Street Address of Debtor (No. & Street, City, State & Zip Code):                        Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
                                                                    145 Hollingsworth St
                                                                    Hyde Park, MA
                                                                                                                          ZIPCODE 02136-6331                                                                               ZIPCODE
                                                                    County of Residence or of the Principal Place of Business:                              County of Residence or of the Principal Place of Business:
                                                                    Suffolk
                                                                    Mailing Address of Debtor (if different from street address)                            Mailing Address of Joint Debtor (if different from street address):


                                                                                                                           ZIPCODE                                                                                         ZIPCODE
                                                                    Location of Principal Assets of Business Debtor (if different from street address above):
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                                                                                                                                                                                                                           ZIPCODE
                                                                                       Type of Debtor                                      Nature of Business                                Chapter of Bankruptcy Code Under Which
                                                                                   (Form of Organization)                                   (Check one box.)                                    the Petition is Filed (Check one box.)
                                                                                      (Check one box.)                           Health Care Business                                    Chapter 7                    Chapter 15 Petition for
                                                                      Individual (includes Joint Debtors)                        Single Asset Real Estate as defined in 11               Chapter 9                    Recognition of a Foreign
                                                                      See Exhibit D on page 2 of this form.                      U.S.C. § 101(51B)                                       Chapter 11                   Main Proceeding
                                                                      Corporation (includes LLC and LLP)                         Railroad                                                Chapter 12                   Chapter 15 Petition for
                                                                      Partnership                                                Stockbroker                                             Chapter 13                   Recognition of a Foreign
                                                                      Other (If debtor is not one of the above entities,         Commodity Broker                                                                     Nonmain Proceeding
                                                                      check this box and state type of entity below.)            Clearing Bank                                                              Nature of Debts
                                                                                                                                 Other                                                                      (Check one box.)
                                                                                    Chapter 15 Debtor                                                                                     Debts are primarily consumer       Debts are primarily
                                                                    Country of debtor’s center of main interests:                           Tax-Exempt Entity                            debts, defined in 11 U.S.C.         business debts.
                                                                    __________________________________________                           (Check box, if applicable.)                     § 101(8) as “incurred by an
                                                                    Each country in which a foreign proceeding by,               Debtor is a tax-exempt organization under               individual primarily for a
                                                                    regarding, or against debtor is pending:                     Title 26 of the United States Code (the                 personal, family, or house-
                                                                    __________________________________________                   Internal Revenue Code).                                 hold purpose.”
                                                                                        Filing Fee (Check one box)                                                             Chapter 11 Debtors
                                                                                                                                           Check one box:
                                                                      Full Filing Fee attached
                                                                                                                                             Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                                                             Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                      Filing Fee to be paid in installments (Applicable to individuals
                                                                      only). Must attach signed application for the court’s                Check if:
                                                                      consideration certifying that the debtor is unable to pay fee            Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less
                                                                      except in installments. Rule 1006(b). See Official Form 3A.              than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years thereafter).
                                                                                                                                             ----------------------------------------------------------------
                                                                      Filing Fee waiver requested (Applicable to chapter 7 individuals     Check all applicable boxes:
                                                                      only). Must attach signed application for the court’s                  A plan is being filed with this petition
                                                                      consideration. See Official Form 3B.                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                                                                                             accordance with 11 U.S.C. § 1126(b).
                                                                    Statistical/Administrative Information                                                                                                                      THIS SPACE IS FOR
                                                                       Debtor estimates that funds will be available for distribution to unsecured creditors.                                                                   COURT USE ONLY
                                                                       Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                                                                       distribution to unsecured creditors.
                                                                   Estimated Number of Creditors

                                                                   1-49      50-99         100-199      200-999       1,000-         5,001-           10,001-             25,001-             50,001-           Over
                                                                                                                      5,000          10,000           25,000              50,000              100,000           100,000
                                                                   Estimated Assets

                                                                   $0 to   $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
                                                                   $50,000 $100,000 $500,000      $1 million $10 million    to $50 million $100 million to $500 million to $1 billion $1 billion
                                                                   Estimated Liabilities

                                                                   $0 to   $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
                                                                   $50,000 $100,000 $500,000      $1 million $10 million    to $50 million $100 million to $500 million to $1 billion $1 billion
                                                                                Case 15-12959               Doc 1         Filed 07/27/15            Entered 07/27/15 09:42:28                         Desc Main
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                                                                   Voluntary Petition                                                              Name of Debtor(s):
                                                                    (This page must be completed and filed in every case)                          Cousin, Terry T

                                                                                         All Prior Bankruptcy Case Filed Within Last 8 Years (If more than two, attach additional sheet)
                                                                    Location                                                                       Case Number:                              Date Filed:
                                                                    Where Filed:None
                                                                    Location                                                                       Case Number:                              Date Filed:
                                                                    Where Filed:
                                                                       Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                    Name of Debtor:                                                                Case Number:                              Date Filed:
                                                                    None
                                                                    District:                                                                      Relationship:                             Judge:


                                                                                                   Exhibit A                                                                            Exhibit B
                                                                    (To be completed if debtor is required to file periodic reports (e.g., forms                   (To be completed if debtor is an individual
                                                                    10K and 10Q) with the Securities and Exchange Commission pursuant to                          whose debts are primarily consumer debts.)
                                                                    Section 13 or 15(d) of the Securities Exchange Act of 1934 and is              I, the attorney for the petitioner named in the foregoing petition, declare
                                                                    requesting relief under chapter 11.)                                           that I have informed the petitioner that [he or she] may proceed under
                                                                                                                                                   chapter 7, 11, 12, or 13 of title 11, United States Code, and have
                                                                        Exhibit A is attached and made a part of this petition.                    explained the relief available under each such chapter. I further certify
                                                                                                                                                   that I delivered to the debtor the notice required by 11 U.S.C. § 342(b).
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                                                                                                                                                   X   /s/ Thomas Benner                                              7/27/15
                                                                                                                                                       Signature of Attorney for Debtor(s)                                 Date

                                                                                                                                           Exhibit C
                                                                    Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
                                                                    or safety?
                                                                        Yes, and Exhibit C is attached and made a part of this petition.
                                                                        No

                                                                                                                                           Exhibit D
                                                                    (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
                                                                            Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                                                                    If this is a joint petition:
                                                                              Exhibit D also completed and signed by the joint debtor is attached a made a part of this petition.

                                                                                                                      Information Regarding the Debtor - Venue
                                                                                                                                  (Check any applicable box.)
                                                                            Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                                                                            preceding the date of this petition or for a longer part of such 180 days than in any other District.
                                                                            There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.
                                                                            Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District,
                                                                            or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court]
                                                                            in this District, or the interests of the parties will be served in regard to the relief sought in this District.

                                                                                                  Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                              (Check all applicable boxes.)
                                                                            Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                          (Name of landlord that obtained judgment)

                                                                                                                                      (Address of landlord)
                                                                            Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                                                                            the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                                                                            Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
                                                                            filing of the petition.
                                                                            Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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                                                                   B1 (Official Form 1) (04/13)                                   Document                Page 3 of 3                                                                             Page 3
                                                                   Voluntary Petition                                                                     Name of Debtor(s):
                                                                    (This page must be completed and filed in every case)                                 Cousin, Terry T

                                                                                                                                                    Signatures
                                                                                   Signature(s) of Debtor(s) (Individual/Joint)                                               Signature of a Foreign Representative
                                                                    I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this
                                                                    petition is true and correct.                                                         petition is true and correct, that I am the foreign representative of a debtor
                                                                    [If petitioner is an individual whose debts are primarily consumer debts              in a foreign proceeding, and that I am authorized to file this petition.
                                                                    and has chosen to file under Chapter 7] I am aware that I may proceed                 (Check only one box.)
                                                                    under chapter 7, 11, 12 or 13 of title 11, United States Code, understand
                                                                                                                                                               I request relief in accordance with chapter 15 of title 11, United
                                                                    the relief available under each such chapter, and choose to proceed under
                                                                                                                                                               States Code. Certified copies of the documents required by 11 U.S.C.
                                                                    chapter 7.
                                                                                                                                                               § 1515 are attached.
                                                                    [If no attorney represents me and no bankruptcy petition preparer signs
                                                                    the petition] I have obtained and read the notice required by 11 U.S.C. §                  Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
                                                                    342(b).                                                                                    chapter of title 11 specified in this petition. A certified copy of the
                                                                    I request relief in accordance with the chapter of title 11, United States                 order granting recognition of the foreign main proceeding is attached.
                                                                    Code, specified in this petition.
                                                                                                                                                          X
                                                                    X   /s/ Terry T Cousin                                                                     Signature of Foreign Representative
                                                                        Signature of Debtor                                       Terry T Cousin
                                                                    X                                                                                          Printed Name of Foreign Representative
                                                                        Signature of Joint Debtor

                                                                                                                                                               Date
                                                                        Telephone Number (If not represented by attorney)
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                                                                        July 27, 2015
                                                                        Date

                                                                                                    Signature of Attorney*                                                 Signature of Non-Attorney Petition Preparer
                                                                                                                                                          I declare under penalty of perjury that: 1) I am a bankruptcy petition
                                                                    X   /s/ Thomas Benner                                                                 preparer as defined in 11 U.S.C. § 110; 2) I prepared this document for
                                                                        Signature of Attorney for Debtor(s)                                               compensation and have provided the debtor with a copy of this document
                                                                                                                                                          and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                        Thomas Benner 655483                                                              110(h) and 342(b); and 3) if rules or guidelines have been promulgated
                                                                        Benner & Weinkauf                                                                 pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
                                                                        50 Braintree Hill Park Ste 302                                                    chargeable by bankruptcy petition preparers, I have given the debtor
                                                                        Braintree, MA 02184-8831                                                          notice of the maximum amount before preparing any document for filing
                                                                        (781) 356-5494 Fax: (866) 227-4592                                                for a debtor or accepting any fee from the debtor, as required in that
                                                                        tbenner@tbennerlaw.com                                                            section. Official Form 19 is attached.

                                                                                                                                                          Printed Name and title, if any, of Bankruptcy Petition Preparer


                                                                                                                                                          Social Security Number (If the bankruptcy petition preparer is not an individual, state the
                                                                                                                                                          Social Security number of the officer, principal, responsible person or partner of the
                                                                                                                                                          bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                        July 27, 2015
                                                                        Date
                                                                    *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a         Address
                                                                    certification that the attorney has no knowledge after an inquiry that the
                                                                    information in the schedules is incorrect.

                                                                                Signature of Debtor (Corporation/Partnership)
                                                                    I declare under penalty of perjury that the information provided in this              X
                                                                    petition is true and correct, and that I have been authorized to file this                 Signature
                                                                    petition on behalf of the debtor.
                                                                                                                                                               Date
                                                                    The debtor requests relief in accordance with the chapter of title 11,                Signature of Bankruptcy Petition Preparer or officer, principal, responsible
                                                                    United States Code, specified in this petition.                                       person, or partner whose social security number is provided above.

                                                                                                                                                          Names and Social-Security numbers of all other individuals who prepared or
                                                                    X                                                                                     assisted in preparing this document unless the bankruptcy petition preparer is
                                                                        Signature of Authorized Individual                                                not an individual:

                                                                                                                                                          If more than one person prepared this document, attach additional sheets
                                                                        Printed Name of Authorized Individual
                                                                                                                                                          conforming to the appropriate official form for each person.
                                                                                                                                                          A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                        Title of Authorized Individual                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                                                                                          imprisonment or both 11 U.S.C. § 110; 18 U.S.C. § 156.
                                                                        Date
